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                   EXHIBIT E
                        Case 1:20-cv-01702-WMR Document 38-5 Filed 02/16/21 Page 2 of 4




From:                                           Joseph Sharp
Sent:                                           Wednesday, January 20, 2021 2:31 PM
To:                                             'Henner, Lindsay Mitchell'
Cc:                                             'Hobbs, Michael D.'; 'Bowler, John M.'
Subject:                                        RE: Keenan's Kids Foundation v. Claggett: Document Production

Importance:                                     High


Lindsay: We are unable to download the video “HIGHLY CONFIDENTIAL KKF_000334 Voir Dire Pie - Don Keenan.mp4.”
Could you please re-send.

You indicated in our call that Plaintiff would be making a rolling production. Do you intend to supplement the
production? If so, when will you produce the remaining responsive documents you are willing to produce.

Thanks. Joe



Joseph Sharp
Shareholder

jsharp@polsinelli.com
404.253.6028
1201 West Peachtree Street NW, Suite 1100
Atlanta, GA 30309
"Tier One: Nationally ranked for Commercial Litigation,
U.S.News and World Report's 2021 'Best Law Firms'"




Polsinelli PC, Polsinelli LLP in California

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From: Henner, Lindsay Mitchell <Lindsay.henner@troutman.com>
Sent: Friday, January 15, 2021 4:14 PM
To: Joseph Sharp <JSharp@Polsinelli.com>
Cc: Hobbs, Michael D. <michael.hobbs@troutman.com>; Bowler, John M. <john.bowler@troutman.com>
Subject: RE: Keenan's Kids Foundation v. Claggett: Document Production

 EXTERNAL EMAIL                    lindsay.henner@troutman.com

Joe,

Please find Keenan’s first production available for download at the link below.

https://www.dropbox.com/sh/8f4v54ifq8opiff/AABiAEvwF0LkceVYPvp0lU_2a?dl=0




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Lindsay Mitchell Henner
Associate
troutman pepper
Direct: 404.885.3805 | Mobile: 770.856.4876 | Internal: 11-3805
lindsay.henner@troutman.com

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From: Joseph Sharp <JSharp@Polsinelli.com>
Sent: Thursday, January 7, 2021 5:09 PM
To: Bowler, John M. <john.bowler@troutman.com>; Hobbs, Michael D. <michael.hobbs@troutman.com>; Henner,
Lindsay Mitchell <Lindsay.henner@troutman.com>
Subject: Keenan's Kids Foundation v. Claggett: Document Production

EXTERNAL SENDER

Below is a link to documents numbered SC00001-SC001461, which we are producing in response to Plaintiff’s document
requests. Joe

https://www.dropbox.com/sh/hm1ptpv0fq17c10/AAD0WDADlPtJpYG3_U64Jr3za?dl=0


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